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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

MARYLAND, et al.,
Plaintiffs,

Case No. 1:25-cv-00748-JKB

UNITED STATES DEPARTMENT ¥

OF AGRICULTURE, et al.,
be |
Defendants. LY? | A
AO b

x * * * * * * % * * *

PLAINTIFFS’ MOTION TO SEAL EXHIBITS M-EE TO PLAINTIFFS’
MOTION FOR TEMPORARY RESTRAINING ORDER

Plaintiffs States hereby move under Local Rule 105.11 to seal Exhibits M-EE in
support of Plaintiffs’ Motion for a Temporary Restraining Order. As explained below this
Court should grant the motion because the exhibits—declarations from recently
terminated probationary federal employees—contain sensitive personal information that
the public has no interest in seeing. There is no viable alternative to sealing. So much of
the information in the declarations is sensitive that redaction would not provide the public
with appreciably more information about the scope and extent of probationary employee
terminations. Declarants also have reasonable concerns about reprisal if their declarations

are publicly available.
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LEGAL STANDARD

“The right of public access derives from two independent sources: the First
Amendment and the common law.” Jn re U.S. for an Ord. Pursuant to 18 U.S.C. Section
2703(D), 707 F.3d 283, 290 (4th Cir. 2013). The common law presumes a right of public
access to all judicial records and documents that can be rebutted by competing interests,
such as whether the records are sought for improper purposes, whether release would
enhance the public’s understanding of an important historical event, and whether the
public already has access to the information in the records. /d. (citing Jn re Knight Publ’g
Co., 743 F.2d 231, 235 (4th Cir. 1984)). The First Amendment right of access only
applies to certain judicial records such as complaints, summary judgment motions and
exhibits, rulings on summary judgment motions, and docket sheets. Courthouse News
Service v. Smith, 126 F.4th 899, 907 (4th Cir. 2025). The First Amendment permits
sealing these records when it is narrowly tailored to serve a compelling governmental
interest. Butler v. DirectSAT USA, LLC, 47 F. Supp. 3d 300, 316 (D. Md. 2014).

ARGUMENT

Exhibits M-EE are declarations from probationary federal employees whose
employment has been terminated since January 20, 2025. They should be sealed because
they contain sensitive personal information that the common law does not entitle the

public to see, and the First Amendment right of access does not apply.
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Each declaration contains sensitive personal information. They include the
declarant’s annual salary and grade and step levels. They describe the declarant’s formal
performance evaluations and informal feedback on their job performance for employees
who were not employed long enough to receive a performance evaluation. They include
direct quotes from emails notifying them of the termination of their employment. They
also describe how declarants’ responses to sudden unemployment, including whether
they have applied for unemployment, Medicaid, or other public benefits for themselves or
their families, and how their daily lives and spending are affected.

These declarations should be sealed in their entirety because the declarants have
strong reasons to keep their sensitive personal information out of public view. See Butler,
47 F. Supp. 3d at 316. Although the recent mass layoffs of federal employees are a matter
of public concern, specific and individualized information about the employees who have
been terminated will not advance the public’s understanding of this public issue. See Jn re
Knight Publ'g Co., 743 F.2d at 235 (favoring sealing if information will not advance
public understanding). The public does not already have personal information about
employee salaries, performance reviews, or their plans to apply for public benefits. /d.
(also favoring sealing if the information is not already public). And the declarants have
reasonable and specific concerns about reprisal if their declarations are available to the
public. Many have already applied for other jobs and others are seeking reinstatement

into their former positions with the federal government and they reasonably believe that
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public statements about the circumstances of their termination could jeopardize these job
prospects. Others fear that identifying the specific offices where they worked could
expose their former federal colleagues still employed in those offices to reprisal. And
there is no viable alternative to sealing these declarations in their entirety. See Local Rule
105.11. Redaction of their names is not sufficient, because the declarations also identify
their job titles, the specific geographic locations and offices where they worked, which is
sufficient information to uniquely identify them. The common law standard plainly
justifies sealing.

The First Amendment only applies to certain types of judicial records, such as
complaints, summary judgment motions and exhibits, rulings on summary judgment, and
docket sheets. Courthouse News Service, 126 F.4th at 907. Here the Plaintiff States’
Complaint is already public. Plaintiff States are seeking emergency relief, not summary
judgment, so the employee declarations are not necessary to allow the public to
understand the basis of the Court’s ruling on the merits.

For these reasons, the Plaintiff States respectfully move to seal Exhibits M-EE.

Respectfully submitted,
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ANTHONY G. BROWN
Attorney General
State of Maryland

/s/ James D. Handley

Filed 03/07/25
Filed 03/07/25

Document 10

KEITH ELLISON
Attorney General
State of Minnesota

/s/ Liz Kramer

James D. Handley, Bar No.
20299

Virginia A. Williamson**
Assistant Attorneys General

200 St. Paul Place, 20th Floor
Baltimore, Maryland 21202
Phone: 410-576-6993

Fax: 410-576-6955
jhandley@oag.state.md.us

BRIAN SCHWALB
Attorney General

District of Columbia

Emma Simson
Senior Counsel to the Attorney
General

/s/ Ryan Wilson
Ryan Wilson**
Senior Counsel

Hannah Cole-Chu, Bar No.
20747 ©

Anne Deng*

Pamela Disney**

Tessa Gellerson, Bar No. 21271
Charles Sinks, Bar No. 21185
Cara Spencer, Bar No. 20171
Assistant Attorneys General

Office of the Attorney General
for the District of Columbia
400 6th Street N.W., 10th Floor
Washington, D.C. 20001

(202) 230-2342

Ryan. Wilson@dc.gov

Liz Kramer*
Solicitor General

445 Minnesota Street, Suite 1400
St. Paul, Minnesota 55101-2131
Phone: 651-757-1059

Fax: 651-282-5832
liz.kramer@ag.state.mn.us

KRISTIN K. MAYES
Attorney General
State of Arizona

/s/ Hayleigh S. Crawford
Hayleigh S. Crawford*
Deputy Solicitor General
2005 North Central Avenue
Phoenix, Arizona 85004
Phone: (602) 542-3333
Hayleigh.Crawford@azag.gov
ACL@azag.gov

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Case 1:25-cv-00748-JKB Document6

ROB BONTA
Attorney General
State of California

/s/ Satoshi Yanai

Satoshi Yanai*

Senior Assistant Attorney
General

300 S. Spring Street, Suite 1702
Los Angeles, California 90013
Phone: 213-269-6400
satoshi.yanai@doj.ca.gov

KATHLEEN JENNINGS

Attorney General
State of Delaware

By: /s/ Vanessa L. Kassab
Ian R. Liston
Director of Impact Litigation

Vanessa L. Kassab*

Deputy Attorney General
Delaware Department of Justice
820 N. French Street
Wilmington, DE 19801

(302) 683-8899
vanessa.kassab@delaware.gov

Filed 03/07/25
Filed 03/07/25

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WILLIAM TONG
Attorney General
State of Connecticut

/s/ Michael Skold
Michael Skold*
Solicitor General

165 Capitol Avenue
Hartford, CT 06106
Phone: (860) 808 5020
michael.skold@ct.gov

ANNE E. LOPEZ

Attorney General
State of Hawai'i

/s/ Kaliko ‘ondlani D. Fernandes

David D. Day*

Special Assistant to the Attorney General
Kaliko‘onalani D. Fernandes*

Solicitor General

425 Queen Street

Honolulu, HI 96813

(808) 586-1360
kaliko.d.fernandes@hawali.gov

Case 1:25-cv-00748-JKB

Case 1:25-cv-00748-JKB Document 6

KWAME RAOUL
Attorney General
State of [linois

/s/ Gretchen Helfrich
Gretchen Helfrich, ARDC
#6300004*

Deputy Chief

Special Litigation Bureau
Office of the Illinois Attorney
General

115 South LaSalle Street, 35"
Floor

Chicago, IL 60603

Tel. (312) 814-3000
Gretchen. helfrich@ilag.gov

DANA NESSEL
Attorney General

State of Michigan

/s/ Bryan Davis, Jr.

Bryan Davis, Jr. (P84206)*
Debbie Taylor (P59382)*
Assistant Attorneys General
Department of Attorney General
Labor Division

3030 W. Grand Blvd., Ste. 9-600
Detroit, MI 48202
davisb47(@michigan.gov
taylord8@michigan.gov

(313) 456-2200

RAUL TORREZ
Attorney General
State of New Mexico

/s/ Anjana Samant

Anjana Samant*

Deputy Counsel for Impact
Litigation

New Mexico Department of
Justice

Filed 03/07/25
Filed 03/07/25

Document 10

ANDREA JOY CAMPBELL
Attorney General
Commonwealth of Massachusetts

/s/ Katherine Dirks

Katherine Dirks*

Chief State Trial Counsel
Office of the Attorney General
1 Ashburton PI.

Boston, MA 02108
617.963.2277
katherine.dirks@mass.gov

MATTHEW J. PLATKIN
Attorney General
State of New Jersey

/s/ Shankar Duraiswamy

Shankar Duraiswamy*

Deputy Solicitor General

25 Market Street

Trenton, NJ 08625

Phone: (862) 350-5800

Shankar. Duraiswamy(@njoag.gov

LETITIA JAMES
Attorney General
State of New York

By:_/s/ Rabia Mugaddam
Rabia Muqaddam*

Special Counsel for Federal Initiatives

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New York Office of the Attorney General

28 Liberty St.
New York, NY 10005
Case 1:25-cv-00748-JKB

Case 1:25-cv-00748-JKB Document 6

P.O. Drawer 1508
Santa Fe, NM 87504-1508
(505) 490-4060

asamant(@nmdoj.gov

DAN RAYFIELD
Attorney General
State of Oregon

By:/s Deanna J. Chang

Deanna J. Chang**

Senior Assistant Attorney
General

100 SW Market Street

Portland, OR 97201

(971) 673-1880
Deanna.J.Chang@doj.oregon.gov

CHARITY R. CLARK
Attorney General
State of Vermont

/s/ Jonathan T. Rose
Jonathan T. Rose*

Solicitor General

109 State Street

Montpelier, VT 05609

(802) 828-3171
Jonathan.rose@vermont.gov

PHIL WEISER
Attorney General of Colorado

/s/ David Moskowitz

David Moskowitz

Deputy Solicitor General

Office of the Colorado Attorney
General

1300 Broadway, #10

Denver, CO 80203

(720) 508-6000
David.Moskowitz@coag.gov

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Filed 03/07/25

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(929) 638-0447
rabia.mugaddam@ag.ny.gov

PETER F. NERONHA
Attorney General for the State of Rhode Island

By: /s/ Natalya A. Buckler

Natalya A. Buckler (RI Bar No. 8415)*
Assistant Attorney General

150 South Main Street

Providence, RI 02903

(401) 274-4400, Ext. 2022
nbuckler@riag.ri.gov

JOSHUA L. KAUL
Attorney General of Wisconsin

Brian P_ Keenan

BRIAN P. KEENAN*

Assistant Attorney General

State Bar #1056525

Wisconsin Department of Justice
Post Office Box 7857

Madison, Wisconsin 53707-7857
(608) 266-0020

(608) 294-2907 (Fax)
keenanbp@doj.state. wi.us

AARON D. FORD
Attorney General of Nevada

By:_/s/ Heidi Parry Stern
Heidi Parry Stern (Bar. No. 8873)*
Solicitor General
Office of the Nevada Attorney General
555 E. Washington Ave., Ste. 3900
Las Vegas, NV 89101
HStern@ag.nv.gov

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* Pro hac vice application

forthcoming
** Application for admission

pending

March 7, 2025 Attorneys for Plaintiffs
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CERTIFICATE OF SERVICE

I certify that, on this 7th day of March, 2025, the foregoing was served by first-class

mail on all persons entitled to service:

UNITED STATES DEPARTMENT OF
AGRICULTURE,

1400 Independence Avenue, S.W.,
Washington, DC 20250

BROOKE ROLLINS, in her official Capacity
as Secretary of Agriculture,

1400 Independence Avenue, S.W.

Room 214W, Whitten Building

Washington, DC 20250

UNITED STATES DEPARTMENT OF
COMMERCE,

1401 Constitution Avenue, N.W.
Washington, DC 20230

HOWARD LUTNICK, in his Official Capacity
as Secretary of Commerce,

1401 Constitution Avenue, N.W.

Washington, DC 20230

UNITED STATES DEPARTMENT OF
DEFENSE,

1000 Defense Pentagon

Washington, DC 20301-1400

PETER HEGSETH, in his Official Capacity as
Secretary of Defense,

1000 Defense Pentagon

Washington, DC 20301-1400

UNITED STATES DEPARTMENT OF
EDUCATION,

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400 Maryland Avenue, S.W.
Washington, DC 20202

LINDA MCMAHON, in her Official Capacity
as Secretary of Education,

400 Maryland Avenue, S.W.

Washington, DC 20202

UNITED STATES DEPARTMENT OF
ENERGY,

1000 Independence Avenue, S.W.
Washington, DC 20024

CHRISTOPHER WRIGHT, in his Official
Capacity as Secretary of Energy,

1000 Independence Avenue, S.W.
Washington, DC 20024

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, D.C. 20201

ROBERT F. KENNEDY, JR., in his Official
Capacity as Secretary of Health and Human
Services,

200 Independence Avenue, S.W.
Washington, DC 20201

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

300 7th Street, S.W.

Washington, DC 20201

KRISTI NOEM, in her Official Capacity as
Secretary of Homeland Security,

300 7th Street, S.W.

Washington, DC 20201

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UNITED STATES DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT,
451 7th Street, S.W.

Washington, DC 20410

SCOTT TURNER, in his Official Capacity as
Secretary of Housing and Urban Development,
451 7th Street, S.W.

Washington, DC 20410

UNITED STATES DEPARTMENT OF
INTERIOR,

1849 C Street, N.W.

Washington, DC 20240

DOUGLAS BURGUM, in his Official Capacity
as Secretary of the Interior,

1849 C Street, N.W.

Washington, DC 20240

UNITED STATES DEPARTMENT OF
LABOR,

200 Constitution Avenue, N.W.
Washington, DC 20210

VINCE MICONE, in his Official Capacity as
Acting Secretary of Labor,

200 Constitution Avenue, N.W.

Washington, DC 20210

UNITED STATES DEPARTMENT OF
TRANSPORTATION,

1200 New Jersey Avenue, S.E.
Washington, DC 20590

SEAN DUFFY, in his Official Capacity as
Secretary of the Transportation,

1200 New Jersey Avenue, S.E.
Washington, DC 20590

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UNITED STATES DEPARTMENT OF
TREASURY,

1500 Pennsylvania Avenue, N.W.
Washington, DC 20220

SCOTT BESSENT, in his Official Capacity as
Secretary of the Treasury,

1500 Pennsylvania Avenue, N.W.
Washington, DC 20220

UNITED STATES DEPARTMENT OF
VETERANS AFFAIRS,

810 Vermont Avenue, N.W.
Washington, DC 20420

DOUGLAS A. COLLINS, in his Official
Capacity as Secretary of the Veterans Affairs,
810 Vermont Avenue, N.W.

Washington, DC 20420

CONSUMER FINANCIAL PROTECTION
BUREAU,

1700 G Street, N.W.

Washington, DC 20520

RUSSELL VOUGHT, in his Official Capacity
as Acting Director of the Consumer Financial
Protection Bureau,

1700 G Street, N.W.

Washington, DC 20520

ENVIRONMENTAL PROTECTION
AGENCY,

1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

LEE ZELDIN, in his Official Capacity as
Administrator of the Environmental Protection
Agency,

1200 Pennsylvania Avenue, N.W.

13

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Washington, DC 20460

FEDERAL DEPOSIT INSURANCE
CORPORATION,

550 17th Street, NW

Washington, DC 20429

TRAVIS HILL, in his Official Capacity as
Acting Chairman of the Federal Deposit
Insurance Corporation,

550 17th Street, NW

Washington, DC 20429

GENERAL SERVICES ADMINISTRATION,
1800 F Street, NW
Washington, DC 20405

STEPHEN EHIKIAN, in his Official Capacity
as Acting Administrator of the General Services
Administration,

1800 F Street, NW

Washington, DC 20405

NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,

700 Pennsylvania Avenue, N.W.
Washington, DC 20001

OFFICE OF PERSONNEL MANAGEMENT
1900 E Street, N.W.
Washington, DC 20415

CHARLES EZELL, in his Official Capacity as
Acting Director of the Office of Personnel
Management

1900 E Street, N.W.

Washington, DC 20415

SMALL BUSINESS ADMINISTRATION,
409 3" Street, SW

14

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Washington, DC 20416

KELLY LOEFLER, in her Official Capacity as
Administrator of the Small Business
Administration,

409 3" Street, SW

Washington, DC 20416

UNITED STATES AGENCY FOR
INTERNATIONAL DEVELOPMENT,
1300 Pennsylvania Avenue, NW
Washington, DC 20004

MARCO RUBIO, in his Official Capacities as
Acting Administrator of the United States
Agency for International Development and
Archivist for the National Archives and Records
Administration,

1300 Pennsylvania Avenue, NW

Washington, DC 20004,

/s/ James D. Handley
James D. Handley, Bar No. 20299

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

MARYLAND, et al.,
Plaintiffs,

No. 1:25-cv-00748-JKB

UNITED STATES DEPARTMENT x
OF AGRICULTURE, et al.,

Defendants.

* * * * * * * * * * * *

PROPOSED ORDER TO FILE UNDER SEAL
Upon consideration of Plaintiffs’ Motion to Seal Exhibits M-EE, it is this

day of , 2025, by the United States District Court for the District of

Maryland,

HEREFORE, this Court finds that the Plaintiffs’ Exhibits M-EE, contain
confidential information, and

FURTHER, this Court finds no option aside from sealing these documents as
feasible to ensure the confidentiality of the information for the individuals concerned.

THEREFORE, it is ORDERED that Plaintiffs’ Motion to Seal Exhibits M-EE is
GRANTED, and it is further

ORDERED that Exhibits M-EE are SEALED.

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Honorable James K. Bredar
United States District Judge

